Case 3:18-cv-01288   Document 1   Filed 09/10/18   Page 1 of 5 PageID #: 1




                                                     3:18-cv-01288
Case 3:18-cv-01288   Document 1   Filed 09/10/18   Page 2 of 5 PageID #: 2
Case 3:18-cv-01288   Document 1   Filed 09/10/18   Page 3 of 5 PageID #: 3
Case 3:18-cv-01288   Document 1   Filed 09/10/18   Page 4 of 5 PageID #: 4
Case 3:18-cv-01288   Document 1   Filed 09/10/18   Page 5 of 5 PageID #: 5




                                                    3:18-cv-01288
